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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


    LA UNIÓN DEL PUEBLO ENTERO, et al.,

          Plaintiffs,
                                                                   CIVIL ACTION NO.
    v.                                                                5:21-cv-844-XR
                                                              [Consolidated Action: Lead Case]
    STATE OF TEXAS, et al.,

          Defendants.


    HARRIS COUNTY REPUBLICAN PARTY, et al.,

                  Intervenor-Defendants.



      LUPE PLAINTIFFS’ UNOPPOSED MOTION FOR ENLARGEMENT OF PAGE
     LIMITATION FOR LUPE PLAINTIFFS’ OPPOSED MOTION TO STRIKE THE
    DECLARATION OF JONATHAN WHITE AND MOTION IN LIMINE TO EXCLUDE
         TESTIMONY ABOUT NON-PUBLIC INFORMATION RELATING TO
       INVESTIGATIONS AND PROSECUTIONS OF ALLEGED VOTER FRAUD

         Pursuant to the Court’s Standing Order’s instructions on Pretrial Motions1, LUPE Plaintiffs

respectfully request a ten-page enlargement of the page limitation for LUPE Plaintiffs’ Opposed

Motion to Strike the Declaration of Jonathan White and Motion in Limine to Exclude Testimony

About Non-Public Information Relating to Investigations and Prosecutions of Alleged Voter

Fraud. The motion is attached as Exhibit A.

         LUPE Plaintiffs seek leave to exceed the page limit in order to address fully the factual and

legal bases of their motion. Because of the significant overlap between their two requests, which

involve testimony of the State’s witness Mr. Jonathan White, instead of filing a motion to strike


1
 Standing Order, found at https://www.txwd.uscourts.gov/wp-content/uploads/2023/01/Proposed-Scheduling-
Order-and-Rule-26f-Report.pdf (last visited September 1, 2023).

                                                     1
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Mr. White’s declaration and a separate motion in limine to exclude testimony, LUPE Plaintiffs

have drafted a single motion that contains arguments for both. This consolidated motion seeks to

increase efficiency for State Defendants and the Court.

       Granting this motion will not prejudice any party. Counsel for State Defendants and

Defendant Intervenors do not oppose this motion.

       For the foregoing reasons, LUPE Plaintiffs respectfully request that the Court grant their

motion for leave to file a Motion to Strike and Motion in Limine of no greater than forty pages.



Dated: September 1, 2023                     Respectfully submitted,

                                             /s/ Nina Perales
                                             Nina Perales
                                             Fátima Menéndez
                                             Kenneth Parreno
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                                             Counsel for LUPE Plaintiffs




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                             CERTIFICATE OF CONFERENCE

       I hereby certify that, on August 31, 2023, counsel for LUPE Plaintiffs sent an email to

confer with counsel for all parties concerning the subject of the instant motion. Counsel that

responded before the filing of this motion, including counsel for State Defendants and counsel for

Defendant Intervenors, indicated that they are unopposed.




                                             /s/ Nina Perales
                                             Nina Perales




                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 1st day of

September 2023.


                                             /s/ Nina Perales
                                             Nina Perales
